       Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 1 of 36



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

MARTHA ZARATE                                       §
                                                    §
VS.                                                 §     CIVIL ACTION NO. 4:16-cv-00769
                                                    §
SWIFT TRANSPORTATION CO. OF                         §
ARIZONA, LLC AND DANIEL POWERS                      §     JURY REQUESTED

                                 DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW Defendants, SWIFT TRANSPORTATION CO. OF ARIZONA, LLC AND

DANIEL POWERS, and hereby give notice of their removal of Cause No. 2016-13003 filed in the

151st Judicial District Court of Harris County, Texas, to the United States District Court for the

Southern District of Texas pursuant to the provisions of 28 U.S.C. §§ 1441(a) and 1446.

                                           Factual Background

         1.       On or about May 30, 2014, a two car motor vehicle accident occurred near the

intersection of Holcombe Blvd. and Ardmore Street in Harris County, Texas allegedly involving all

the parties. Plaintiff claims she was injured when a Swift Transportation truck driven by Daniel

Powers struck the driver’s side of her vehicle. Plaintiff claims she was injured as a result of this

collision and filed suit in state court.

         2.       Plaintiff filed suit in state court on February 29, 2016. Service of Citation and

Complaint was made on Swift Transportation Co. of Arizona, LLC on March 10, 2016. Defendant

Daniel Powers was served via the Texas Transportation Commission on March 10, 2016. In

Plaintiff’s Original Petition there is a monetary claim for damages in an amount greater than

$200,000, which exceeds the jurisdictional minimum. The case has been on file for less than one

year. Removal is both timely and appropriate.



578859.1 PLD 0011310 10270 RDO
       Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 2 of 36



                                  Basis for Removal and Jurisdiction

         3.       This cause may be removed pursuant to 28 U.S.C. § 1441(a). “[A]ny civil action

brought in State court of which the district courts of the United States have original jurisdiction,

may be removed by the defendant . . . , to the district court of the United States for the district and

division embracing the place where such action is pending.” This Court has jurisdiction over this

matter under 28 U.S.C. § 1332 because there is complete diversity of citizenship and the amount in

controversy is greater than $75,000.00.

                                   Full Diversity Between the Parties

Complete Diversity of Citizenship

         4.       To have diversity of citizenship, each plaintiff must have a different citizenship from

each defendant. 28 U.S.C. § 1332. Complete diversity of citizenship exists between the parties as

the Plaintiffs are Texas citizens and none of the Defendants are Texas citizens or corporations.

         5.       Plaintiff, Martha Zarate, is a resident and citizen of the State of Texas.

         6.       Defendant, Daniel Powers, is a resident and citizen of the State of Georgia.

         7.       Defendant, Swift Transportation Co. of Arizona, LLC is an Arizona corporation

with its principal place of business in Phoenix, Arizona.

Amount in Controversy

         8.       In order for diversity jurisdiction to exist, the amount in controversy must exceed

$75,000.00, exclusive of interest and costs. 28 U.S.C. § 1332(a).

         9.       Plaintiff is seeking more than $200,000.00 in damages, as stated in their Original

Petition.




578859.1 PLD 0011310 10270 RDO
       Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 3 of 36



                                   Removal is Timely and Appropriate

         10.       If the plaintiff creates diversity jurisdiction sometime after filing the initial

complaint, the defendant has one year from the commencement of the suit to remove. 28 U.S.C. §

1446(b). A defendant has 30 days to remove a civil action after receipt of the first pleading or other

paper that establishes the jurisdictional grounds. 28 U.S.C. § 1446(b). When diversity is the basis

for removal, the defendant can rely on the plaintiff’s voluntary assertion of damages within the

complaint to meet the monetary jurisdictional requirement for diversity. S.W.S. Erectors, Inc. v.

Infax, Inc., 72 F.3d 489, 492 (5th Cir. 1996).                 "The burden of establishing subject matter

jurisdiction in federal court rests on the party seeking to invoke it." St. Paul Reinsurance Co. v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998). Here, Plaintiff’s Original Pleading voluntarily

asserts an amount in controversy in excess of $75,000.00. This removal is filed within the thirty

(30) days of the service of Plaintiff’s Petition. The removal is both timely and appropriate.

                                               Jury Demanded

         11.      Defendants request that the case be tried before a jury.

                                    Consent of All Served Defendants

          12.     Defendant Swift Transportation Co. of Arizona, LLC has been properly served and

         consents to this removal.

          13.     Defendant Daniel Powers has been properly served and consents to this removal.

                         Compliance with Local Rule and Notice Requirements

          14.     Pursuant to 28 U.S.C. § 1446 and Local Rule 81, the following documents are

attached to this Notice:

                  Exhibit A ........... List of Images Filed

                  Exhibit B ........... Civil Process Request




578859.1 PLD 0011310 10270 RDO
       Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 4 of 36



                  Exhibit C ........... Civil Case Information Sheet

                  Exhibit D ........... Plaintiff’s Original Petition and Requests for Disclosure


                  Exhibit E ............ Citation of Daniel Powers with certified mail receipt

                  Exhibit F ............ Domestic Return Receipt from the Texas Transportation
                                         Commission for Daniel Powers

                  Exhibit G ........... Citation of Swift Transportation Co. of Arizona, LLC with certified
                                        mail receipt

                  Exhibit H ........... Domestic Return Receipt from Texas Secretary of State for Swift
                                       Transportation Co. of Arizona, LLC

Defendants know of no orders signed by the state judge.

         15.      Pursuant to 28 U.S.C. 1446(d), written notice of the filing of this instrument will be

given to Plaintiff. A true and correct copy of this Notice of Removal also will be attached as an

exhibit with the written Notice of Removal filed with the clerk of the state court.

                                                           Respectfully submitted,

                                                          /s/ Roger D. Oppenheim
                                                           _____________________________
                                                           Roger D. Oppenheim
                                                           FBN: 14206
                                                           SBN: 15292400

OF COUNSEL:
LORANCE & THOMPSON, P.C.
2900 North Loop West, Suite 500
Houston, TX 77092
713/868-5560
713/864-4671 (fax)
rdo@lorancethompson.com
ATTORNEY FOR DEFENDANTS
SWIFT TRANSPORTATION OF ARIZONA, LLC
AND DANIEL POWERS




578859.1 PLD 0011310 10270 RDO
       Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 5 of 36



                                 CERTIFICATE OF SERVICE

       On this 23rd day of March, 2016, a true and correct copy of the foregoing instrument has
been provided to all parties by e-filing and/or telefax transmission.

Mr. Wade Moriarty
The Crim Law Firm, PC
4900 Travis Street
Houston, TX 77002
wade@thecrimlawfirm.com


                                                  /s/ Roger D. Oppenheim
                                                   ___________________________________
                                                   Roger D. Oppenheim




578859.1 PLD 0011310 10270 RDO
       Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 6 of 36



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

MARTHA ZARATE                                            §
                                                         §
VS.                                                      §         CIVIL ACTION NO. 4:16-cv-00769
                                                         §
SWIFT TRANSPORTATION CO. OF                              §
ARIZONA, LLC AND DANIEL POWERS                           §         JURY REQUESTED

                                 INDEX OF MATTERS BEING FILED

         Defendants, SWIFT TRANSPORTATION CO. OF ARIZONA, LLC AND DANIEL

POWERS, in connection with the removal of this case to the United States District Court for the

Southern District of Texas, Houston Division, file their index of matters, as follows:

                  Exhibit A ........... List of Images Filed

                  Exhibit B ........... Civil Process Request

                  Exhibit C ........... Civil Case Information Sheet

                  Exhibit D ........... Plaintiff’s Original Petition and Requests for Disclosure


                  Exhibit E ............ Citation of Daniel Powers with certified mail receipt

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                                         Commission for Daniel Powers

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                                        mail receipt

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                                       Transportation Co. of Arizona, LLC

                                                               Respectfully submitted,

                                                               /s/ Roger D. Oppenheim
                                                                _____________________________
                                                                Roger D. Oppenheim
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578859.1 PLD 0011310 10270 RDO
       Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 7 of 36




OF COUNSEL:
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rdo@lorancethompson.com
ATTORNEY FOR DEFENDANTS
SWIFT TRANSPORTATION OF ARIZONA, LLC
AND DANIEL POWERS


                                 CERTIFICATE OF SERVICE

       On this 23rd day of March, 2016, a true and correct copy of the foregoing instrument has
been provided to all parties by e-filing and/or telefax transmission.

Mr. Wade Moriarty
The Crim Law Firm, PC
4900 Travis Street
Houston, TX 77002
wade@thecrimlawfirm.com

                                                  /s/ Roger D. Oppenheim
                                                   ___________________________________
                                                   Roger D. Oppenheim




578859.1 PLD 0011310 10270 RDO
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 8 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 9 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 10 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 11 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 12 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 13 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 14 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 15 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 16 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 17 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 18 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 19 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 20 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 21 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 22 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 23 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 24 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 25 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 26 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 27 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 28 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 29 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 30 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 31 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 32 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 33 of 36
Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 34 of 36
      Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 35 of 36



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF TEXAS
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MARTHA ZARATE                                       §
                                                    §
VS.                                                 §       CIVIL ACTION NO. 4:16-cv-00769
                                                    §
SWIFT TRANSPORTATION CO. OF                         §
ARIZONA, LLC AND DANIEL POWERS                      §       JURY REQUESTED



                    LIST OF PARTIES, COUNSEL OF RECORD AND STATUS

         PLAINTIFF:                                            DEFENDANTS:
         Martha Zarate                                         Swift Transportation Co. of Arizona, LLC
                                                               Daniel Powers

ATTORNEYS:

         ATTORNEY FOR PLAINTIFF:                               ATTORNEY FOR DEFENDANTS
         Wade Moriarty                                         Roger D. Oppenheim
         SBN: 00789503                                         SBN: 15293400
         FBN:                                                  FBN: 14205
         THE CRIM LAW FIRM, PC                                 LORANCE & THOMPSON, PC
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         713/807-8434 (fax)                                    713/864-4671 (fax)
         wade@thecrimlawfirm.com                               rdo@lorancethompson.com


STATUS OF REMOVED CASE:

         February 29, 2016       Plaintiff’s Original Petition and Requests for Disclosure

         March 23, 2016          Defendants’ Notice of Removal

       Defendants, Swift Transportation Co. of Arizona, LLC and Daniel Powers, have been
served with the Plaintiff’s Original Petition and Requests for Disclosure. Neither parties have filed
responses to written discovery. No depositions have been taken. The matter has not been mediated.
The case has no trial setting or other court ordered deadlines.




578859.1 PLD 0011310 10270 RDO
      Case 4:16-cv-00769 Document 1 Filed in TXSD on 03/23/16 Page 36 of 36



                                                   Respectfully submitted,

                                                  /s/ Roger D. Oppenheim
                                                   _____________________________
                                                   Roger D. Oppenheim
                                                   FBN: 14206
                                                   SBN: 15292400

OF COUNSEL:
LORANCE & THOMPSON, P.C.
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ATTORNEY FOR DEFENDANTS
SWIFT TRANSPORTATION OF ARIZONA, LLC
AND DANIEL POWERS
                               CERTIFICATE OF SERVICE

       On this 23rd day of March, 2016, a true and correct copy of the foregoing instrument has
been provided to all parties by e-filing and/or telefax transmission.

Mr. Wade Moriarty
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Houston, TX 77002
wade@thecrimlawfirm.com



                                                  /s/ Roger D. Oppenheim
                                                   ___________________________________
                                                   Roger D. Oppenheim




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